Case 2:04-cv-02054-SHI\/|-dkv Document 17 Filed 05/24/05 Page 1 of 2 Page|D 30

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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE

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JAMES HANNA,
Plaintiff,
VS.

NO. 04~2054-Ma/V

MOCK INC. d/b/a
Hl-SPEED INDUSTRIAL SERVICE,

Defendant.

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ORDER DENYING APPOINTMENT OF COUNSEL

 

Plaintiff James Hanna filed a p;g §§ complaint pursuant
to the Age Discrimination in Employment Act, 29 U.S.C. § 621 et
§§g;, and the Americans with Disabilities Act, 42 U.S.C. § 12111 et
§§g;, on January 29, 2004 and paid the civil filing fee. The Court
issued an order on February 10, 2004 directing the clerk to issue
a summons to plaintiff and the plaintiff to effect service on the
defendant. The plaintiff filed a motion seeking appointment of
counsel on July S, 2004. As the plaintiff has not demonstrated that
he is indigent, he is not eligible for appointed counsel.

:T rs so oaDERED this w day Of May, 2005.

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SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

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This notice confirms a copy of the document docketed as number 17 in
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Honorable Samuel Mays
US DISTRICT COURT

